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      Brian T. Hanlon                                       A. Carter Magee, Jr., Esq. (VSB #20284)
      Lake County Tax Collector’s Office                    Garren R. Laymon, Esq. (VSB #75112)
      P.O. Box 2500                                         Magee Goldstein Lasky & Sayers, P.C.
      Titusville, Florida 32781-2500                        P.O. Box 404
      Phone: (321) 225-3046                                 Roanoke, Virginia 24003-0404
      Fax: (321) 264-5247                                   Phone: (540) 343-9800
      brian.hanlon@brevardtaxcollector.com                  Fax: (540) 343-9898
      Counsel to Lake County Tax Collector                  cmagee@mglspc.com
                                                            glaymon@mglspc.com




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

      IN RE:                                        §               Chapter 11
                                                    §
      CIRCUIT CITY STORES, INC., et al.             §               Case No. 08-35653-KRH
                                                    §
               Debtors.                             §               Jointly Administered

          ORDER GRANTING MOTION OF A. CARTER MAGEE, JR. FOR AN ORDER
          AUTHORIZING BRIAN T. HANLON TO APPEAR PRO HAC VICE PURSUANT
                     TO LOCAL BANKRUPTCY RULE 2090-2(E)(2)

               The matter before the Court is the Motion of A. Carter Magee, Jr. for an Order

      Authorizing Brian T. Hanlon to Appear Pro Hac Vice Pursuant to Local Bankruptcy Rule 2090-

      1(E)(2) (the “Motion”). Having reviewed the Motion and the Court’s dockets, the Court finds

      that: (i) it has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and

      1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) no party in interest

      filed an objection to the relief requested in the Motion; (iv) proper and adequate notice of the

      Motion has been given and that no other or further notice is necessary; and (v) good and

      sufficient cause exists for the granting of the relief requested in the Motion. It is accordingly

                                                  ORDERED
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      that the Motion is GRANTED and Brian T. Hanlon shall be and is permitted to appear pro hac

      vice as Counsel to Lake County (Florida) Tax Collector in the above-captioned chapter 11 cases

      in accordance with Local Bankruptcy Rule 2090-2(E)(2).

      Dated:


                                                                                     UNITED STATES BANKRUPTCY JUDGE

      WE ASK FOR THIS:

       /s/ A. Carter Magee, Jr.
      A. Carter Magee, Jr., Esq. (VSB #20284)
      Garren R. Laymon, Esq. (VSB #75112)
      Magee Goldstein Lasky & Sayers, P.C.
      P.O. Box 404
      Roanoke, VA 24003-0404
      Phone: (540) 343-9800
      Fax: (540) 343-9898
      cmagee@mglspc.com
      glaymon@mglspc.com


                                                                     CERTIFICATE OF SERVICE

                   I certify that copies of the proposed order were served via electronic delivery on the 9th

      day of May, 2011, on all parties that are registered with the CM/ECF system and have filed a

      notice of appearance in this case.

                                                                               /s/ A. Carter Magee, Jr.

      Serve:
                   All parties that have filed notices of appearance in this case by electronic mail.
      U:\A CLIENTS\Lake County Tax Collector 3289\Pro Hac Vice Order - Hanlon.docx




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